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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MARYLAND

Chambers of                                                                    101 West Lombard Street
Matthew J. Maddox                                                                          Chambers 3B
United States Magistrate Judge                                                Baltimore, Maryland 21201
MDD MJMChambers@mdd.uscourts.gov                                                         (410) 962-3407



                                                      October 17, 2022


TO ALL COUNSEL OF RECORD

Re:      Kubas v. 331B, LLC d/b/a Rockwell Fitness
         Civil No. MJM-20-2456

Dear Counsel:

       This letter confirms the trial date and pre-trial deadlines set out by the Court during the
telephone conference held on October 14, 2022. It also provides instructions concerning trial
preparation.

   November 15, 2022          Deadline for Joint Status Report regarding whether the parties have
                              engaged in any further settlement discussions or exchanged
                              information in furtherance of settlement, and whether a settlement
                              or other ADR conference with a judicial officer would be useful
      February 20, 2023       Deadline for Joint Proposed Pretrial Order in compliance with
                              Local Rule 106.2 and the instructions provided herein
      February 20, 2023       Deadline for Proposed Jury Instructions, Voir Dire, and Special
                              Verdict Form, each to be filed jointly between the parties to the
                              extent practicable
      February 20, 2023       Deadline for Motions in Limine and any legal trial memoranda
                              regarding the claims, at the option of counsel, and any limitation of
                              evidence, if necessary
                              (Please note that each party may file one Motion in Limine
                              addressing all issues in separate sections.)
      February 27, 2023       Deadline for any Responses to Motions in Limine
       March 6, 2023          Deadline for any Replies with respect to Motions in Limine
       March 13, 2023         Deadline for delivering one copy of all trial exhibits in three-ring
                              binder(s) to Judge Maddox’s chambers (address listed above)
       March 20, 2023         Pretrial conference telephone call
        at 10:00 a.m.
       April 24, 2023         Jury Trial to begin (5 days, courtroom to be determined)
        at 10:00 a.m.
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                                               Voir Dire

        I have enclosed my non-case specific voir dire questions, which I would expect to use in
this case. Counsel should review these questions and confer with one another. After conferring,
counsel should provide me with:

       1.      a jointly proposed, one paragraph statement of the case to be read to the venire
panel explaining the nature of the case in general terms; and

       2.    case-specific voir dire questions requested by counsel, indicating whether
opposing counsel objects to the proposed additional questions.

                           Jury Instructions and Special Verdict Form

       I have enclosed a copy of my general jury instructions, which I will use in this case. Please
confer and provide me with:

       1.      any jointly proposed case-specific instructions not covered in the materials I have
enclosed, if necessary;

        2.      a jointly proposed special verdict form (if possible); and

        3.     where the parties cannot agree on joint submissions, counsel should submit separately
their proposed case-specific instructions or special verdict forms, specifically identifying the
disputed issues.

         Any additional jury instructions you propose should (1) be typed one instruction per page and
(2) be numbered and assembled in the order in which you request that they be read to the jury.
Parties should rely on pattern instructions whenever possible. My preferred sources are Sand, Siffert,
et al., Modern Federal Jury Instructions; O’Malley, et al., Federal Jury Practice and Instructions; or
Maryland Pattern Jury Instructions, as appropriate. If you change a pattern instruction in any way,
please make the changes clear by underlining additions and [bracketing] deletions, and note after the
citation that the proposed instruction is “modified.” If you propose a non-pattern instruction, please
include a citation of the authorities supporting the instruction.

         For all proposed jury instructions, special verdict forms, and voir dire questions, in addition
to filing them via CM/ECF, please send a hard copy to chambers and e-mail a copy in Microsoft
Word format to MDD_MJMChambers@mdd.uscourts.gov.

                                Guaranteeing Witness Availability

          Absent emergency circumstances, a party will guarantee the presence at trial of any witness
that party lists in the pretrial order, in accordance with Local Rule 106.2.i., as “expect[ed] to present”
at trial.
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                           Disclosure of Opinions of Expert Witnesses

        In addition to the information required by Local Rule 106.2.j, the pretrial order shall include
for each party a concise summary of the opinion testimony expected from each witness identified by
that party pursuant to Fed. R. Civ. P. 26(a) who may testify at trial. The parties shall identify those
witnesses designated pursuant to Rule 26(a)(2)(B) separately from those designated pursuant to Rule
26(a)(2)(C).

                                               Exhibits

        Please be prepared to advise me at the pretrial conference if there are any objections to the
documents and exhibits listed in the pretrial order in accordance with Local Rule 106.2.h. Any
objections not disclosed at that time or in the proposed pretrial order, other than objections under
Fed. R. Evid. 401 and 403, shall be deemed waived at trial, unless excused for good cause shown.
Fed. R. Civ. P. 26(a)(3).

       All exhibits must be tagged and numbered prior to trial in accordance with Local Rule
106.7.a. You must meet with one another prior to trial to review and make available for copying one
another’s exhibits in accordance with Local Rule 106.7.b.

        Copies of the parties’ proposed exhibits must be in a three-ring binder. The parties should
attempt to agree on the admissibility of all exhibits and inform the Court of those exhibits about
which agreement cannot be reached. Those exhibits will be discussed at the pretrial conference. The
parties should provide, in addition, impeachment exhibits each intends to offer into evidence at trial.
Impeachment exhibits need not be disclosed to other parties.

                                   Use of Courtroom Equipment

        The Court has available for your use an electronic evidence presentation system, as well as a
DVD player and video monitors. If you would like to schedule an information session with the
Information Technology Department about the available technology in the courtroom, please contact
Chambers at least one month before trial to coordinate. More information can be found on our
Court’s website: https://www.mdd.uscourts.gov/courtroom-technology. Please be prepared to advise
me at the conference if you would like to use any courtroom equipment at trial.

                                       Objections to Evidence

       All objections to evidence, other than objections based on relevance or prejudice/
confusion/ waste of time, are waived if not raised by the parties in their pretrial order.

        Fed. R. Civ. P. 26(a)(3) requires the parties to provide pretrial disclosure of the evidence that
they intend to present at trial. Under Local Rule 106.4,1 the parties’ timely submission of a pretrial
order constitutes compliance with Fed. R. Civ. P. 26(a)(3).

1
  Local Rule 106.4(c) provides that “[s]ubmission of a pretrial order containing the information
required by L.R. 106.2 within the time limits prescribed by L.R. 106.3 and L.R. 106.4 shall be
deemed to constitute compliance with Fed. R. Civ. P. 26(a)(3).”
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        Fed. R. Civ. P. 26(a)(3) also provides that objections, other than objections under Fed. R.
Evid. 402 (Relevant Evidence Generally Admissible; Irrelevant Evidence Inadmissible) and Fed. R.
Evid. 403 (Exclusion of Relevant Evidence on Grounds of Prejudice, Confusion, or Waste of Time),
to pretrial disclosures that are not raised within 14 days of the disclosure are waived unless excused
by the Court for good cause shown. Therefore, a party’s failure to raise objections to evidence listed
in the pretrial order submitted under Local Rule 106.4 is deemed to be a waiver of that party’s right
to object to those items at trial, other than on grounds of relevance or prejudice/ confusion/ waste of
time.

       The parties are directed to not file any other motions, objections, or other pleadings without
permission from the Court.

                                         Trial Instructions

        Please read carefully the attached memorandum entitled “Instructions to Counsel Regarding
Jury Trial Procedure and Conduct.” You are responsible for knowing the contents of these
instructions and all of the provisions of Local Rule 107 concerning trial conduct.

                                             Settlement

        Unless the Court is notified of any settlement no later than one full business day prior to the
day on which the trial is scheduled to begin, jury costs will be imposed in accordance with Local
Rule 107.4. Ordinarily, in civil cases 25-28 potential jurors are called as members of the venire
panel, and the cost per juror is approximately $70.

       Notwithstanding the informal nature of this letter, it will constitute an Order of the Court
and will be docketed accordingly.


                                                       Sincerely,
                                                               /s/

                                                       Matthew J. Maddox
                                                       United States Magistrate Judge
